
The Supreme Court affirmed the decision of the court below on June 4, 1874, in the following opinion:
Per Curiam.
A majority of the court in this case think that the organization of the Board of School Directors called the Lynde Board,” under which the defendant, C. E. Royce, holds the appointment of Tax Receiver, was illegal and void, and did not supersede the organization made at the same meeting, earlier in the evening, when a quorum of six members met and the “ Blewitt Board ” was organized. It is not necessary in this view of the case to enter into the question as to the regularity of the organization of the *233“ Blewitt Board.” It is sufficient that the defendant has no legal t right to exercise the duties of the Receiver of Taxes. The de-. cree of the court below is affirmed, and the appeal of the defendant dismissed, and he is ordered to pay the costs of the appeal.
